Case 2:04-cr-20380-.]PI\/| Document 39 Filed 06/24/05 Page 1 of 3 Page|D 56

IN THE U'NI'I`ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNI'I`ED S'I`ATES OF A.MERICA
Plaintiff,

V.

JM'@

Criminal No. H-lel

(60-Day Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Auqust 26, 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

This document entered on the docket sh t n ' 9
with Fiu|e 55 and/or 32{b) FHCrP on

 

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SO ORDERED this 24ch day of June, 2005.

h QWQQQ

JON PHIPPS MCCALLA
UN ED STA'I'ES DISTRICT JUDGE

M&%.N

Assistant United States Attorney

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/ /

 

 

 

 

 

Counsel for Defendant(s)

 

ISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20380 Was distributed by faX, mail, or direct printing on
.1 une 27, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

